    Case 1:19-cv-06165 Document 1 Filed 10/31/19 Page 1 of 24 PageID #: 1



                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF NEW YORK

ZHAOER LI, Individually and On Behalf   Case No.
of All Others Similarly Situated,

                          Plaintiff,    CLASS ACTION COMPLAINT FOR
                                        VIOLATIONS OF THE FEDERAL
                  v.                    SECURITIES LAWS

VIVINT SOLAR, INC., DAVID
BYWATER, and DANA RUSSELL,              JURY TRIAL DEMANDED

                          Defendants.
     Case 1:19-cv-06165 Document 1 Filed 10/31/19 Page 2 of 24 PageID #: 2



       Plaintiff Zhaoer Li (“Plaintiff”), individually and on behalf of all others similarly situated,

by and through Plaintiff’s attorneys, alleges the following upon information and belief, except as to

those allegations concerning Plaintiff, which are alleged upon personal knowledge. Plaintiff’s

information and belief is based upon, among other things, Plaintiff’s counsel’s investigation, which

includes without limitation: (a) review and analysis of regulatory filings made by Vivint Solar, Inc.

(“Vivint” or the “Company”) with the United States (“U.S.”) Securities and Exchange Commission

(“SEC”); (b) review and analysis of press releases and media reports issued by and disseminated

by Vivint; and (c) review of other publicly available information concerning Vivint.

                       NATURE OF THE ACTION AND OVERVIEW

       1.      This is a class action on behalf of persons and entities that purchased or otherwise

acquired Vivint securities between March 5, 2019 and September 26, 2019, inclusive (the “Class

Period”). Plaintiff pursues claims against the Defendants under the Securities Exchange Act of

1934 (the “Exchange Act”).

       2.      Vivint offers solar energy systems to residential customers through a direct-to-

home sales model.

       3.      On September 27, 2019, Marcus Aurelius Value published a report alleging that

“28 undisclosed lawsuits . . . specifically allege Vivint forged customer contracts or otherwise

engaged in fraud or deception.”

       4.      On this news, Vivint’s share price fell $0.14 per share, or over 2%, to close at $6.55

per share on September 27, 2019, on unusually high trading volume.

       5.      Throughout the Class Period, Defendants made materially false and/or misleading

statements, as well as failed to disclose material adverse facts about the Company’s business,

operations, and prospects. Specifically, Defendants failed to disclose to investors that: (i) the

Company engaged in fraudulent practices, including forging customer contracts; (ii) as a result,



                                                 1
      Case 1:19-cv-06165 Document 1 Filed 10/31/19 Page 3 of 24 PageID #: 3



the Company’s reported sales and megawatts installed were overstated; (iii) these practices were

reasonably likely to lead to regulatory scrutiny; (iv) as a result, the Company’s earnings would be

materially and adversely impacted; and (v) as a result of the foregoing, Defendants’ positive

statements about the Company’s business, operations, and prospects were materially misleading

and/or lacked a reasonable basis.

        6.      As a result of Defendants’ wrongful acts and omissions, and the precipitous decline

in the market value of the Company’s securities, Plaintiff and other Class members have suffered

significant losses and damages.

                                   JURISDICTION AND VENUE

        7.      The claims asserted herein arise under Sections 10(b) and 20(a) of the Exchange

Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the SEC (17

C.F.R. § 240.10b-5).

        8.      This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1331 and Section 27 of the Exchange Act (15 U.S.C. § 78aa).

        9.      Venue is proper in this Judicial District pursuant to 28 U.S.C. § 1391(b) and Section

27 of the Exchange Act (15 U.S.C. § 78aa(c)). Substantial acts in furtherance of the alleged fraud

or the effects of the fraud have occurred in this Judicial District. Many of the acts charged herein,

including the dissemination of materially false and/or misleading information, occurred in

substantial part in this Judicial District.

        10.     In connection with the acts, transactions, and conduct alleged herein, Defendants

directly and indirectly used the means and instrumentalities of interstate commerce, including the

U.S. mail, interstate telephone communications, and the facilities of a national securities exchange.




                                    CLASS ACTION COMPLAINT
                                                 2
      Case 1:19-cv-06165 Document 1 Filed 10/31/19 Page 4 of 24 PageID #: 4



                                            PARTIES

        11.     Plaintiff, as set forth in the accompanying Certification, incorporated by reference

herein, purchased Vivint securities during the Class Period, and suffered damages as a result of

the federal securities law violations and false and/or misleading statements and/or material

omissions alleged herein.

        12.     Defendant Vivint is incorporated under the laws of Delaware with its principal

executive offices located in Lehi, Utah. Vivint’s common stock trades on the New York Stock

Exchange (“NYSE”) under the symbol “VSLR.”

        13.     Defendant David Bywater (“Bywater”) has served as Vivint’s Chief Executive

Officer and a Director of the Company at all relevant times.

        14.     Defendant Dana Russell (“Russell”) has served as Vivint’s Chief Financial Officer

at all relevant times.

        15.     Defendants Bywater and Russell (collectively the “Individual Defendants”),

because of their positions with the Company, possessed the power and authority to control the

contents of the Company’s reports to the SEC, press releases and presentations to securities

analysts, money and portfolio managers, and institutional investors, i.e., the market.          The

Individual Defendants were provided with copies of the Company’s reports and press releases

alleged herein to be misleading prior to, or shortly after, their issuance and had the ability and

opportunity to prevent their issuance or cause them to be corrected. Because of their positions and

access to material non-public information available to them, the Individual Defendants knew that

the adverse facts specified herein had not been disclosed to, and were being concealed from, the

public, and that the positive representations which were being made were then materially false

and/or misleading. The Individual Defendants are liable for the false statements pleaded herein.




                                  CLASS ACTION COMPLAINT
                                                 3
     Case 1:19-cv-06165 Document 1 Filed 10/31/19 Page 5 of 24 PageID #: 5



                                SUBSTANTIVE ALLEGATIONS

                                            Background

       16.       Vivint offers solar energy systems to residential customers through a direct-to-

home sales model.

        Materially False and Misleading Statements Issued During the Class Period

       17.       The Class Period begins on March 5, 2019, when Vivint issued a press release

announcing its fourth quarter and full year 2018 financial results, stating, in relevant part:

       Fourth Quarter 2018 Operating Highlights

       Key operating and development highlights include:

             •   MW Booked of approximately 63 MWs for the quarter.

             •   MW Installed of approximately 54 MWs for the quarter. Total cumulative
                 MWs installed were approximately 1,061 MWs.

             •   Installations were 7,730 for the quarter. Cumulative installations were
                 154,598.

             •   Estimated Gross Retained Value increased by approximately $62 million
                 during the quarter to approximately $2.0 billion. Estimated Gross Retained
                 Value per Watt at quarter end was $2.06.

             •   Cost per Watt was $3.12, a decrease from $3.21 in the third quarter of 2018
                 and an increase from $2.95 in the fourth quarter of 2017.

                                                ***

       For the first quarter of 2019, Vivint Solar expects:

             •   MW Installed: 43 - 45 MWs

             •   Cost per Watt: $3.45 - $3.52

       For the full year 2019, Vivint Solar expects 15% growth for MWs Installed.

                                                ***

       Glossary of Definitions


                                   CLASS ACTION COMPLAINT
                                                  4
     Case 1:19-cv-06165 Document 1 Filed 10/31/19 Page 6 of 24 PageID #: 6



       “Installations” represents the number of solar energy systems installed on
       customers’ premises.

       “MWs or megawatts” represents the DC nameplate megawatt production capacity.

       “MW Booked” represents the aggregate megawatt nameplate capacity of solar
       energy systems that were permitted during the period net of cancellations in the
       period.

       “MW Installed” represents the aggregate megawatt nameplate capacity of solar
       energy systems for which panels, inverters, and mounting and racking hardware
       have been installed on customer premises in the period.

       18.     The same day, Vivint filed its Annual Report on Form 10-K with the SEC for the

period ended December 31, 2018 (the “2018 10-K”), affirming the previously reported financial

results. Moreover, the Individual Defendants signed certifications pursuant to Sarbanes-Oxley Act

of 2002, attesting to the accuracy of financial reporting, the disclosure of any material changes to

the Company’s internal control over financial reporting, and the disclosure of all fraud in the 2018

10-K. The 2018 10-K also stated that the Company’s internal control over financial reporting was

effective as of December 31, 2018.

       19.     Under “Risk Factors” in the 2018 10-K, Vivint stated that restrictions on direct-

selling could adversely impact the Company’s financial condition, stating, in relevant part:

       The majority of our business is conducted using one channel, direct-selling.

       Historically, our primary sales channel has been a direct sales model. We also sell
       to customers through our inside sales team but continue to find greatest success
       using our direct sales channel. In addition, we have entered into sales dealer
       agreements with Vivint and others. We may sell through additional distribution
       channels in the future, including homebuilders and retailers. We compete against
       companies with experience selling solar energy systems to customers through a
       number of distribution channels, including homebuilders, home improvement
       stores, large construction, electrical and roofing companies, the internet and other
       third parties and companies that access customers through relationships with third
       parties in addition to other direct-selling companies. Our less diversified
       distribution channels may place us at a disadvantage with consumers who prefer to
       purchase products through these other distribution channels. If customers
       demonstrate a preference for other distribution channels, we may need to reduce



                                  CLASS ACTION COMPLAINT
                                                 5
      Case 1:19-cv-06165 Document 1 Filed 10/31/19 Page 7 of 24 PageID #: 7



        our direct-selling efforts. We are also vulnerable to changes in laws related to direct
        sales and marketing that could impose additional limitations on unsolicited
        residential sales calls and may impose additional restrictions such as adjustments
        to our marketing materials and direct-selling processes, and new training for
        personnel. If additional laws affecting direct sales and marketing are passed in the
        markets in which we operate, it would take time to train our sales force to comply
        with such laws, and we may be exposed to fines or other penalties for violations of
        such laws. If we fail to compete effectively through our direct-selling efforts or are
        not successful in developing other sales channels, our financial condition, results
        of operations and growth prospects could be adversely affected.

Plainly, this risk warning was a generic “catch-all” provision that was not tailored to Vivint’s

actual known legal risks with respect to its direct-selling activities.

        20.     Moreover, Vivint stated in the 2018 10-K that it relied on an effective sales force,

stating, in relevant part:

        We are highly dependent on our ability to attract, train and retain an effective
        sales force.

        The success of our direct-selling channel efforts depends upon the recruitment,
        retention and motivation of a large number of sales personnel to compensate for a
        high turnover rate among sales personnel, which is a common characteristic of a
        direct-selling business. In order to grow our business, we need to recruit, train and
        retain sales personnel on a continuing basis. Sales personnel are attracted to direct-
        selling by competitive earnings opportunities, and direct-sellers typically compete
        for sales personnel by providing a more competitive earnings opportunity than that
        offered by the competition. We believe competitors devote substantial effort to
        determining the effectiveness of such incentives so that they can invest in incentives
        that are the most cost effective or produce the best return on investment. We have
        historically compensated our sales personnel on a commission basis, based on the
        size of the solar energy systems they sell and recently have begun compensating
        based on system size, contract rate and the expected number of hours the rooftop
        will be exposed to full sunlight. Some sales personnel may prefer a compensation
        structure that also includes a salary and equity incentive component. There is
        significant competition for sales talent in our industry, and from time to time we
        may need to adjust our compensation model to include such components. These
        adjustments have caused our customer acquisition costs to increase and could
        otherwise adversely impact our operating results and financial performance . . . .

        21.     On May 9, 2019, Vivint issued a press release announcing its first quarter 2018

financial results, stating, in relevant part:




                                    CLASS ACTION COMPLAINT
                                                  6
      Case 1:19-cv-06165 Document 1 Filed 10/31/19 Page 8 of 24 PageID #: 8



        First Quarter 2019 Operating Highlights

        Key operating and development highlights include:

              •   MW Installed of approximately 46 MWs for the quarter. Total cumulative
                  MWs installed were approximately 1,107 MWs.

              •   Installations were 6,514 for the quarter. Cumulative installations were
                  161,112.

              •   Estimated Gross Retained Value increased by approximately $54 million
                  during the quarter and is approximately $2.1 billion. Estimated Gross
                  Retained Value per Watt at quarter end was $2.04.

              •   Cost per Watt was $3.46, an increase from $3.18 in the fourth quarter of
                  2018 and an increase from $3.22 in the first quarter of 2018.

              •   Margin created was $45 million, a 29% increase from the first quarter of
                  2018. Unlevered NPV per Watt was $0.99.

                                                 ***

        For the second quarter of 2019, Vivint Solar expects:

              •   MW Installed: 52 - 55 MWs

              •   Cost per Watt: $3.32 - $3.40

        22.       On August 8, 2019, Vivint issued a press release announcing its second quarter

2019 financial results, stating, in relevant part:

        Second Quarter 2019 Operating Highlights

        Key operating and development highlights include:

              •   MW Installed of approximately 56 MWs for the quarter. Total cumulative
                  MWs installed were approximately 1,163 MWs.

              •   Installations were 8,163 for the quarter. Cumulative installations were
                  169,275.

              •   Estimated Gross Retained Value increased by approximately $68 million
                  during the quarter to approximately $2.1 billion. Estimated Gross Retained
                  Value per Watt at quarter end was $2.02.



                                    CLASS ACTION COMPLAINT
                                                     7
     Case 1:19-cv-06165 Document 1 Filed 10/31/19 Page 9 of 24 PageID #: 9



             •   Cost per Watt was $3.56, an increase from $3.46 in the first quarter of 2019
                 and an increase from $3.23 in the second quarter of 2018.
             •   Margin created was $49 million, a 21% increase from the second quarter of
                 2018. Unlevered NPV per Watt was $0.88.

       23.       The above statements identified in ¶¶ 17-22 were materially false and/or

misleading, and failed to disclose material adverse facts about the Company’s business, operations,

and prospects. Specifically, Defendants failed to disclose to investors that: (i) the Company

engaged in fraudulent practices, including forging customer contracts; (ii) as a result, the

Company’s reported sales and megawatts installed were overstated; (iii) these practices were

reasonably likely to lead to regulatory scrutiny; (iv) as a result, the Company’s earnings would be

materially and adversely impacted; and (v) as a result of the foregoing, Defendants’ positive

statements about the Company’s business, operations, and prospects were materially misleading

and/or lacked a reasonable basis.

                                    The Truth Begins to Emerge

       24.       On September 27, 2019, Marcus Aurelius Value published a report entitled “VSLR:

Fiddler on the Roof,” alleging that “28 undisclosed lawsuits . . . specifically allege Vivint forged

customer contracts or otherwise engaged in fraud or deception,” stating, in relevant part:

       Various victims of this alleged fraud, including elderly, handicapped, and non-
       English speaking families, state that Vivint resorted to outright fraud and forgery
       to close deals. Lawsuits allege that “Vivint, as a pattern and practice, regularly
       forges signatures” on customer contracts in states including California (which
       accounts for approximately 34% of Vivint’s business). Lawsuits identify senior
       sales employees currently at the company as being involved in the alleged fraud
       and “It is a corporate policy and culture at Vivint Solar to look the other way and
       dismiss these numerous complaints and to overtly or tacitly encourage their sales
       agents to hide important sales details from consumers, forge and falsify
       authorization documents...Vivint promotes its employees for this conduct.”

                                                ***

       We found 28 undisclosed lawsuits that specifically allege Vivint forged customer
       contracts or otherwise engaged in fraud or deception (a detailed index is provided



                                    CLASS ACTION COMPLAINT
                                                  8
    Case 1:19-cv-06165 Document 1 Filed 10/31/19 Page 10 of 24 PageID #: 10



        in the appendix). Not only do lawsuits argue that Vivint “regularly forges
        signatures” on bogus solar contracts but that, despite being “routinely placed on
        notice about its sales agents committing forgery, fraud, and impermissible credit
        pulls”, Vivint continues to prey on consumers and even “promotes its employees
        for this conduct”

        25.     On this news, Vivint’s share price fell $0.14 per share, or over 2%, to close at $6.55

per share on September 27, 2019, on unusually high trading volume.

                       PLAINTIFF’S CLASS ACTION ALLEGATIONS

        26.     Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of a class, consisting of all persons and entities that purchased

or otherwise acquired Vivint securities between March 5, 2019 and September 26, 2019, inclusive,

and who were damaged thereby (the “Class”). Excluded from the Class are Defendants, the

officers and directors of the Company, at all relevant times, members of their immediate families

and their legal representatives, heirs, successors, or assigns, and any entity in which Defendants

have or had a controlling interest.

        27.     The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, Vivint’s common shares actively traded on the

NYSE. While the exact number of Class members is unknown to Plaintiff at this time and can

only be ascertained through appropriate discovery, Plaintiff believes that there are at least hundreds

or thousands of members in the proposed Class. Millions of Vivint common stock were traded

publicly during the Class Period on the NYSE. Record owners and other members of the Class

may be identified from records maintained by Vivint or its transfer agent and may be notified of

the pendency of this action by mail, using the form of notice similar to that customarily used in

securities class actions.




                                      CLASS ACTION COMPLAINT
                                                  9
    Case 1:19-cv-06165 Document 1 Filed 10/31/19 Page 11 of 24 PageID #: 11



          28.    Plaintiff’s claims are typical of the claims of the members of the Class as all

members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

federal law that is complained of herein.

          29.    Plaintiff will fairly and adequately protect the interests of the members of the Class

and has retained counsel competent and experienced in class and securities litigation.

          30.    Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

          a)     whether the federal securities laws were violated by Defendants’ acts as alleged

herein;

          b)     whether statements made by Defendants to the investing public during the Class

Period omitted and/or misrepresented material facts about the business, operations, and prospects

of Vivint; and

          c)     to what extent the members of the Class have sustained damages and the proper

measure of damages.

          31.    A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the

damages suffered by individual Class members may be relatively small, the expense and burden

of individual litigation makes it impossible for members of the Class to individually redress the

wrongs done to them. There will be no difficulty in the management of this action as a class action.

                               UNDISCLOSED ADVERSE FACTS

          32.    The market for Vivint’s securities was open, well-developed, and efficient at all

relevant times. As a result of these materially false and/or misleading statements, and/or failures

to disclose, Vivint’s securities traded at artificially inflated prices during the Class Period. Plaintiff


                                    CLASS ACTION COMPLAINT
                                                   10
    Case 1:19-cv-06165 Document 1 Filed 10/31/19 Page 12 of 24 PageID #: 12



and other members of the Class purchased or otherwise acquired Vivint’s securities relying upon

the integrity of the market price of the Company’s securities and market information relating to

Vivint, and have been damaged thereby.

       33.     During the Class Period, Defendants materially misled the investing public, thereby

inflating the price of Vivint’s securities, by publicly issuing false and/or misleading statements

and/or omitting to disclose material facts necessary to make Defendants’ statements, as set forth

herein, not false and/or misleading. The statements and omissions were materially false and/or

misleading because they failed to disclose material adverse information and/or misrepresented the

truth about Vivint’s business, operations, and prospects as alleged herein.

       34.     At all relevant times, the material misrepresentations and omissions particularized

in this Complaint directly or proximately caused or were a substantial contributing cause of the

damages sustained by Plaintiff and other members of the Class. As described herein, during the

Class Period, Defendants made or caused to be made a series of materially false and/or misleading

statements about Vivint’s financial well-being and prospects. These material misstatements and/or

omissions had the cause and effect of creating in the market an unrealistically positive assessment

of the Company and its financial well-being and prospects, thus causing the Company’s securities

to be overvalued and artificially inflated at all relevant times. Defendants’ materially false and/or

misleading statements during the Class Period resulted in Plaintiff and other members of the Class

purchasing the Company’s securities at artificially inflated prices, thus causing the damages

complained of herein when the truth was revealed.

                                       LOSS CAUSATION

       35.     Defendants’ wrongful conduct, as alleged herein, directly and proximately caused

the economic loss suffered by Plaintiff and the Class.




                                  CLASS ACTION COMPLAINT
                                                 11
    Case 1:19-cv-06165 Document 1 Filed 10/31/19 Page 13 of 24 PageID #: 13



       36.     During the Class Period, Plaintiff and the Class purchased Vivint’s securities at

artificially inflated prices and were damaged thereby. The price of the Company’s securities

significantly declined when the misrepresentations made to the market, and/or the information

alleged herein to have been concealed from the market, and/or the effects thereof, were revealed,

causing investors’ losses.

                                  SCIENTER ALLEGATIONS

       37.     As alleged herein, Defendants acted with scienter since Defendants knew that the

public documents and statements issued or disseminated in the name of the Company were

materially false and/or misleading; knew that such statements or documents would be issued or

disseminated to the investing public; and knowingly and substantially participated or acquiesced

in the issuance or dissemination of such statements or documents as primary violations of the

federal securities laws. As set forth elsewhere herein in detail, the Individual Defendants, by virtue

of their receipt of information reflecting the true facts regarding Vivint, their control over, and/or

receipt and/or modification of Vivint’s allegedly materially misleading misstatements and/or their

associations with the Company which made them privy to confidential proprietary information

concerning Vivint, participated in the fraudulent scheme alleged herein.

                   APPLICABILITY OF PRESUMPTION OF RELIANCE
                       (FRAUD-ON-THE-MARKET DOCTRINE)

       38.     The market for Vivint’s securities was open, well-developed, and efficient at all

relevant times. As a result of the materially false and/or misleading statements and/or failures to

disclose, Vivint’s securities traded at artificially inflated prices during the Class Period. On August

7, 2019, the Company’s share price closed at a Class Period high of $9.45 per share. Plaintiff and

other members of the Class purchased or otherwise acquired the Company’s securities relying




                                   CLASS ACTION COMPLAINT
                                                  12
    Case 1:19-cv-06165 Document 1 Filed 10/31/19 Page 14 of 24 PageID #: 14



upon the integrity of the market price of Vivint’s securities and market information relating to

Vivint, and have been damaged thereby.

        39.    During the Class Period, the artificial inflation of Vivint’s shares was caused by the

material misrepresentations and/or omissions particularized in this Complaint, causing the

damages sustained by Plaintiff and other members of the Class. As described herein, during the

Class Period, Defendants made or caused to be made a series of materially false and/or misleading

statements about Vivint’s business, prospects, and operations. These material misstatements

and/or omissions created an unrealistically positive assessment of Vivint and its business,

operations, and prospects, thus causing the price of the Company’s securities to be artificially

inflated at all relevant times, and when disclosed, negatively affected the value of the Company

shares. Defendants’ materially false and/or misleading statements during the Class Period resulted

in Plaintiff and other members of the Class purchasing the Company’s securities at such artificially

inflated prices, and each of them has been damaged as a result.

        40.    At all relevant times, the market for Vivint’s securities was an efficient market for

the following reasons, among others:

        a)     Vivint shares met the requirements for listing, and were listed and actively traded

on, the NYSE, a highly efficient and automated market;

        b)     As a regulated issuer, Vivint filed periodic public reports with the SEC and/or the

NYSE;

        c)     Vivint regularly communicated with public investors via established market

communication mechanisms, including through regular dissemination of press releases on the

national circuits of major newswire services and through other wide-ranging public disclosures,

such as communications with the financial press and other similar reporting services; and/or




                                  CLASS ACTION COMPLAINT
                                                 13
    Case 1:19-cv-06165 Document 1 Filed 10/31/19 Page 15 of 24 PageID #: 15



       d)      Vivint was followed by securities analysts employed by brokerage firms who wrote

reports about the Company, and these reports were distributed to the sales force and certain

customers of their respective brokerage firms. Each of these reports were publicly available and

entered the public marketplace.

       41.     As a result of the foregoing, the market for Vivint’s securities promptly digested

current information regarding Vivint from all publicly available sources and reflected such

information in Vivint’s share price.      Under these circumstances, all purchasers of Vivint’s

securities during the Class Period suffered similar injury through their purchase of Vivint’s

securities at artificially inflated prices and a presumption of reliance applies.

       42.     A Class-wide presumption of reliance is also appropriate in this action under the

Supreme Court’s holding in Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128 (1972),

because the Class’s claims are, in large part, grounded on Defendants’ material misstatements

and/or omissions. Because this action involves Defendants’ failure to disclose material adverse

information regarding the Company’s business operations and financial prospects—information

that Defendants were obligated to disclose—positive proof of reliance is not a prerequisite to

recovery. All that is necessary is that the facts withheld be material in the sense that a reasonable

investor might have considered them important in making investment decisions. Given the

importance of the Class Period material misstatements and omissions set forth above, that

requirement is satisfied here.

                                       NO SAFE HARBOR

       43.     The statutory safe harbor provided for forward-looking statements under certain

circumstances does not apply to any of the allegedly false statements pleaded in this Complaint.

The statements alleged to be false and misleading herein all relate to then-existing facts and

conditions. In addition, to the extent certain of the statements alleged to be false may be


                                   CLASS ACTION COMPLAINT
                                                  14
    Case 1:19-cv-06165 Document 1 Filed 10/31/19 Page 16 of 24 PageID #: 16



characterized as forward-looking, they were not identified as “forward-looking statements” when

made and there were no meaningful cautionary statements identifying important factors that could

cause actual results to differ materially from those in the purportedly forward-looking statements.

In the alternative, to the extent that the statutory safe harbor is determined to apply to any forward-

looking statements pleaded herein, Defendants are liable for those false forward-looking

statements because at the time each of those forward-looking statements was made, the speaker

had actual knowledge that the forward-looking statement was materially false or misleading,

and/or the forward-looking statement was authorized or approved by an executive officer of Vivint

who knew that the statement was false when made.

                                         FIRST CLAIM
                      Violation of Section 10(b) of The Exchange Act and
                             Rule 10b-5 Promulgated Thereunder
                                    Against All Defendants

        44.     Plaintiff repeats and re-alleges each and every allegation contained above as if fully

set forth herein.

        45.     During the Class Period, Defendants carried out a plan, scheme and course of

conduct which was intended to and, throughout the Class Period, did: (i) deceive the investing

public, including Plaintiff and other Class members, as alleged herein; and (ii) cause Plaintiff and

other members of the Class to purchase Vivint’s securities at artificially inflated prices. In

furtherance of this unlawful scheme, plan, and course of conduct, Defendants, and each defendant,

took the actions set forth herein.

        46.     Defendants (i) employed devices, schemes, and artifices to defraud; (ii) made

untrue statements of material fact and/or omitted to state material facts necessary to make the

statements not misleading; and (iii) engaged in acts, practices, and a course of business which

operated as a fraud and deceit upon the purchasers of the Company’s securities in an effort to



                                     CLASS ACTION COMPLAINT
                                                  15
    Case 1:19-cv-06165 Document 1 Filed 10/31/19 Page 17 of 24 PageID #: 17



maintain artificially high market prices for Vivint’s securities in violation of Section 10(b) of the

Exchange Act and Rule 10b-5. All Defendants are sued either as primary participants in the

wrongful and illegal conduct charged herein or as controlling persons as alleged below.

       47.     Defendants, individually and in concert, directly and indirectly, by the use, means,

or instrumentalities of interstate commerce and/or of the mails, engaged and participated in a

continuous course of conduct to conceal adverse material information about Vivint’s financial

well-being and prospects, as specified herein.

       48.     Defendants employed devices, schemes, and artifices to defraud, while in

possession of material adverse non-public information and engaged in acts, practices, and a course

of conduct as alleged herein in an effort to assure investors of Vivint’s value and performance and

continued substantial growth, which included the making of, or the participation in the making of,

untrue statements of material facts and/or omitting to state material facts necessary in order to

make the statements made about Vivint and its business operations and future prospects in light of

the circumstances under which they were made, not misleading, as set forth more particularly

herein, and engaged in transactions, practices, and a course of business that operated as a fraud

and deceit upon the purchasers of the Company’s securities during the Class Period.

       49.     Each of the Individual Defendants’ primary liability and controlling person liability

arises from the following facts: (i) the Individual Defendants were high-level executives and/or

directors at the Company during the Class Period and members of the Company’s management

team or had control thereof; (ii) each of these defendants, by virtue of their responsibilities and

activities as a senior officer and/or director of the Company, was privy to and participated in the

creation, development, and reporting of the Company’s internal budgets, plans, projections, and/or

reports; (iii) each of these defendants enjoyed significant personal contact and familiarity with the




                                  CLASS ACTION COMPLAINT
                                                 16
    Case 1:19-cv-06165 Document 1 Filed 10/31/19 Page 18 of 24 PageID #: 18



other defendants and was advised of, and had access to, other members of the Company’s

management team, internal reports and other data and information about the Company’s finances,

operations, and sales at all relevant times; and (iv) each of these defendants was aware of the

Company’s dissemination of information to the investing public which they knew and/or

recklessly disregarded was materially false and misleading.

       50.     Defendants had actual knowledge of the misrepresentations and/or omissions of

material facts set forth herein, or acted with reckless disregard for the truth in that they failed to

ascertain and to disclose such facts, even though such facts were available to them. Such

defendants’ material misrepresentations and/or omissions were done knowingly or recklessly and

for the purpose and effect of concealing Vivint’s financial well-being and prospects from the

investing public and supporting the artificially inflated price of its securities. As demonstrated by

Defendants’ overstatements and/or misstatements of the Company’s business, operations,

financial well-being, and prospects throughout the Class Period, Defendants, if they did not have

actual knowledge of the misrepresentations and/or omissions alleged, were reckless in failing to

obtain such knowledge by deliberately refraining from taking those steps necessary to discover

whether those statements were false or misleading.

       51.     As a result of the dissemination of the materially false and/or misleading

information and/or failure to disclose material facts, as set forth above, the market price of Vivint’s

securities was artificially inflated during the Class Period. In ignorance of the fact that market

prices of the Company’s securities were artificially inflated, and relying directly or indirectly on

the false and misleading statements made by Defendants, or upon the integrity of the market in

which the securities trade, and/or in the absence of material adverse information that was known

to or recklessly disregarded by Defendants, but not disclosed in public statements by Defendants




                                   CLASS ACTION COMPLAINT
                                                  17
    Case 1:19-cv-06165 Document 1 Filed 10/31/19 Page 19 of 24 PageID #: 19



during the Class Period, Plaintiff and the other members of the Class acquired Vivint’s securities

during the Class Period at artificially high prices and were damaged thereby.

        52.     At the time of said misrepresentations and/or omissions, Plaintiff and other

members of the Class were ignorant of their falsity and believed them to be true. Had Plaintiff and

the other members of the Class and the marketplace known the truth regarding the problems that

Vivint was experiencing, which were not disclosed by Defendants, Plaintiff and other members of

the Class would not have purchased or otherwise acquired their Vivint securities, or, if they had

acquired such securities during the Class Period, they would not have done so at the artificially

inflated prices which they paid.

        53.     By virtue of the foregoing, Defendants violated Section 10(b) of the Exchange Act

and Rule 10b-5 promulgated thereunder.

        54.     As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and the

other members of the Class suffered damages in connection with their respective purchases and

sales of the Company’s securities during the Class Period.

                                        SECOND CLAIM
                         Violation of Section 20(a) of The Exchange Act
                               Against the Individual Defendants

        55.     Plaintiff repeats and re-alleges each and every allegation contained above as if fully

set forth herein.

        56.     The Individual Defendants acted as controlling persons of Vivint within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their high-level

positions and their ownership and contractual rights, participation in, and/or awareness of the

Company’s operations and intimate knowledge of the false financial statements filed by the

Company with the SEC and disseminated to the investing public, the Individual Defendants had

the power to influence and control and did influence and control, directly or indirectly, the


                                   CLASS ACTION COMPLAINT
                                                  18
    Case 1:19-cv-06165 Document 1 Filed 10/31/19 Page 20 of 24 PageID #: 20



decision-making of the Company, including the content and dissemination of the various

statements which Plaintiff contends are false and misleading. The Individual Defendants were

provided with or had unlimited access to copies of the Company’s reports, press releases, public

filings, and other statements alleged by Plaintiff to be misleading prior to and/or shortly after these

statements were issued and had the ability to prevent the issuance of the statements or cause the

statements to be corrected.

       57.     In particular, the Individual Defendants had direct and supervisory involvement in

the day-to-day operations of the Company and, therefore, had the power to control or influence

the particular transactions giving rise to the securities violations as alleged herein, and exercised

the same.

       58.     As set forth above, Vivint and the Individual Defendants each violated Section

10(b) and Rule 10b-5 by their acts and omissions as alleged in this Complaint. By virtue of their

position as controlling persons, the Individual Defendants are liable pursuant to Section 20(a) of

the Exchange Act. As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff

and other members of the Class suffered damages in connection with their purchases of the

Company’s securities during the Class Period.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for relief and judgment, as follows:

       A.      Determining that this action is a proper class action under Rule 23 of the Federal

Rules of Civil Procedure;

       B.      Awarding compensatory damages in favor of Plaintiff and the other Class members

against all defendants, jointly and severally, for all damages sustained as a result of Defendants’

wrongdoing, in an amount to be proven at trial, including interest thereon;




                                   CLASS ACTION COMPLAINT
                                                  19
    Case 1:19-cv-06165 Document 1 Filed 10/31/19 Page 21 of 24 PageID #: 21



       C.      Awarding Plaintiff and the Class their reasonable costs and expenses incurred in

this action, including counsel fees and expert fees; and

       D.      Such other and further relief as the Court may deem just and proper.

                                  JURY TRIAL DEMANDED

       Plaintiff hereby demands a trial by jury.

Dated: October 31, 2019

                                                        Respectfully submitted,

                                                        POMERANTZ LLP

                                                        /s/ Jeremy A. Lieberman
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                                                        Facsimile: (312) 377-1184
                                                        Email: pdahlstrom@pomlaw.com

                                                        Attorneys for Plaintiff




                                  CLASS ACTION COMPLAINT
                                                   20
     Case 1:19-cv-06165 Document 1 Filed 10/31/19 Page 22 of 24 PageID #: 22



                                   CERTIFICATION PURSUANT
                                 TO FEDERAL SECURITIES LAWS


         1. I, _Zhaoer Li__, make this declaration pursuant to Section 27(a)(2) of the Securities Act of

1933 (“Securities Act”) and/or Section 21D(a)(2) of the Securities Exchange Act of 1934 (“Exchange

Act”) as amended by the Private Securities Litigation Reform Act of 1995.

                    2.    I have reviewed a Complaint against Vivint Solar Inc (NYSE:VSLR, hereafter

referred as the "Company") and authorize the filing of a comparable complaint on my behalf.

                    3. I did not purchase or acquire the “Company” securities at the direction of plaintiffs

counsel or in order to participate in any private action arising under the Securities Act or Exchange Act.

                  4. I am willing to serve as a representative party on behalf of a Class of investors who

purchased or acquired the “Company” securities during the class period, including providing testimony at

deposition and trial, if necessary. I understand that the Court has the authority to select the most adequate

lead plaintiff in this action.

                  5. To the best of my current knowledge, the attached sheet lists all of my transactions in

the “Company” securities during the Class Period as specified in the Complaint.

                  6.     During the three-year period preceding the date on which this Certification is signed, I

have not sought to serve as a representative party on behalf of a class under the federal securities laws.

        7.   I agree not to accept any payment for serving as a representative party on behalf of the class as

set forth in the Complaint, beyond my pro rata share of any recovery, except such reasonable costs and

expenses directly relating to the representation of the class as ordered or approved by the Court.




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 Case 1:19-cv-06165 Document 1 Filed 10/31/19 Page 23 of 24 PageID #: 23



 8.   I declare under penalty of perjury that the foregoing is true and correct.



          2019 1025
Executed ________________


                 (Date)


                                                      Nurmi
                                               _______________________________________


                                                              (Signature)




                                                     Zhao or Li
                                               _______________________________________


                                                              (Type or Print Name)




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   Case 1:19-cv-06165 Document 1 Filed 10/31/19 Page 24 of 24 PageID #: 24



Vivint Solar, Inc. (VSLR)                                                         Li, Zhaoer

                                   List of Purchases and Sales

                            Purchase              Number of               Price Per
        Date                 or Sale              Shares/Unit            Share/Unit

           7/31/2019              Purchase                        135                 $8.4338
           8/19/2019              Purchase                        128                 $8.2300
           8/26/2019              Purchase                         71                 $7.8692
           9/10/2019              Purchase                        100                 $7.1800
            8/8/2019                  Sale                       (134)                $9.2899
